      Case 1-23-42101-nhl      Doc 15     Filed 07/17/23    Entered 07/17/23 12:30:00




                          United States Bankruptcy Court
                           Eastern District of New York


In Re: 532 BEACH LLC                                       Case No. 1:2023bk42101
Debtor(s)                                                  Chapter 11




This is a request to Dismiss the Chapter 11 Bankruptcy case filed by the above debtor on June
14, 2023.

I am requesting the case be dismissed as soon as possible. Reason being is because we are
able to pay off the debts against the debtor. Please dismiss the case as soon as possible so we
can go forward in satisfying the debts.

Thank you,

532 Beach LLC
July 17, 2023


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